              CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 1 of 28




                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                   )   Criminal No. 20-129(2) (NEB/HB)
                                            )
         v.                 Plaintiff,      )   DEFENDANT’S POSITION
                                            )   PLEADING
MCKENZY ANN DEGIDIO DUNN,                   )
                                            )
                          Defendant.        )

         McKenzy Ann DeGidio Dunn was orphaned at thirteen when her mother died

from aggressive brain cancer. Her biological father was absent from her life and

McKenzy’s stepfather abandoned her and her younger brother following her mother’s

death.

         McKenzy was already traumatized from the year of seizures and black-outs her

mother suffered and by the responsibility of caring for her despite being only twelve.

She’d been forced to grow up fast. McKenzy had to be there for her younger brother who

needed her, all the while living with the constant worry of losing her mother. She had to

handle more than any twelve-year-old should have to bear.

         Thus, when her mother eventually passed, McKenzy felt an emotional void.

Fortunately, her stepfather’s parents took in McKenzy and her brother, their biological

grandson. And McKenzy and H.B. were eventually adopted. Their grandparents were

good, kind people who did their best, but McKenzy was already withdrawn and damaged.

         In her teen years, McKenzy’s grandparents began to take in foster children and

McKenzy enjoyed growing up with foster siblings. She liked holding the babies and

playing with the little kids, but her same-age foster sister, Minnie, became her closest
         CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 2 of 28




friend. Like many of the foster siblings who lived in the home, Minnie is Native

American and was treated differently than McKenzy in their small, rural town.

       The racism Minnie experienced and the way some people treated her incensed

McKenzy. McKenzy felt the injustice of Minnie’s treatment and became an advocate for

her when they were together, just as McKenzy did for her Black cousins and bi-racial

friends from school. She wanted her family and friends to know that she saw the

prejudice, discrimination, and injustice they endured. And she wanted them to know that

she would stand up for them and be their ally in their mostly white community.

       When George Floyd was murdered on May 25, 2020, McKenzy had a knee-jerk,

human reaction to the video of his death. She posted her frustration and anger on Facebook

and headed to the protests to show her solidarity. She wanted others to know, that although

she is white, she saw the prejudice, discrimination, and unjust treatment of George Floyd

and other people of color. She went to the protests with good intentions. Unfortunately, she

went with some people she had only met a few days prior.

       On May 28, 2020, nineteen-year-old McKenzy went to the protests in the Midway

area of St. Paul. Like other protestors, she marched on the sidewalks. But she also went in

and out of some of the businesses with her new acquaintances. When she entered the Great

Health & Nutrition store, the people she was with destroyed the shelving and display cases

and collected coins from a spilled cash register. But McKenzy did not participate. She

leaned on a counter and then sat on the floor watching. She drank a Red Bull energy drink

from a cooler that another person threw to her and she took face masks from the store to




                                                2
          CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 3 of 28




pass out to other protestors. She did not get involved in the destruction until the very last

minute.

       As Ms. DeGidio Dunn was about to leave the Great Health & Nutrition store, she

picked up an 8 ounce bottle of hand sanitizer from the counter where she stood and poured

its contents on a bookshelf where her co-defendant was attempting to light a second fire.

Eventually, a small fire started, triggered the sprinkler system, and extinguished the flames.

But the water damage was done and a high-tech video surveillance system caught it all.

       For her singular act, Ms. DeGidio Dunn was federally indicted and pleaded guilty

to a felony, one count of conspiracy to commit arson in violation of 18 U.S.C. §844(i) and

18 U.S.C. §341. She now stands before the Court as a first time offender with no prior

criminal charges nor arrests.

       Ms. DeGidio Dunn has received a copy of the Presentence Report and has no

objections to the factual basis. She submits, however, that a 4-level reduction to her

sentence is appropriate for the minimal role she played in the attempted arson. See U.S.S.G.

§3B1.2. As such, she submits that in Criminal History Category I, the appropriate total

offense level is 13 and the advisory guideline range is 12-18 months of imprisonment.

       In consideration of the 18 U.S.C. § 3553(a) factors, however, Ms. DeGidio Dunn

respectfully asks the Court to consider her age at the time of the offense, her background,

the specific circumstances of the attempted arson, and other goals in federal sentencing. In

doing so, she respectfully asks the Court to consider a term of federal probation with

restitution and community service, an opportunity to repair the damage she caused, in lieu

of prison.


                                                 3
         CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 4 of 28




                                   LEGAL ANALYSIS

       In Gall v. United States, 128 S.Ct. 586 (2007), the United States Supreme Court

clarified the two-step process to be followed in federal sentencing. The sentencing judge

must first determine the guidelines range applicable to the defendant. Id. at 596. Then, the

court must consider the factors in 18 U.S.C. § 3553(a) and determine whether a departure

or a variance is appropriate. Id. at 596-97; United States v. Pepper, 131 S.Ct. 1229, 1241

(2011) (court required “to tailor the sentence … based on appropriate consideration of all

the factors listed in § 3553(a)”); United States v. Roberson, 517 F. 3d 990, 993 (8th Cir.

2008). In so doing, the Court is “to make an individualized assessment based on the facts

presented” and must impose a sentence that is sufficient but not greater than necessary to

accomplish the many goals of federal sentencing. Id.

       Although an analysis of the guidelines is the first step in tailoring an appropriate

sentence, the guidelines cannot be applied in a vacuum. The history and characteristics of

Ms. DeGidio Dunn and the circumstances of her offense must first be understood. Thus,

this pleading will first address Ms. DeGidio Dunn and the crime she committed. Then,

the second portion of this pleading will return to the appropriate guideline calculation and

the remaining 18 U.S.C. § 3553(a) factors.



I.     THE HISTORY AND CHARACTERISTICS OF MCKENZY DEGIDIO DUNN

       Throughout her childhood, McKenzy’s mother kept her from seeing her biological

father. But when McKenzy was approximately two, her mother started seeing another


                                                 4
         CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 5 of 28




man, N.B., who eventually became her stepfather. When McKenzy was four, her younger

brother, H.B. was born. Sadly, it was always clear to McKenzy that she was not N.B.’s

child. He treated her differently than her brother and McKenzy’s mother.

       McKenzy and H.B. were raised together in Moorhead, Minnesota until McKenzy

was eight and in the third grade. Her uncle had been living with them after prison and

committed a new robbery, bringing the police to their house, and creating a stand-off.

After a shoot-out ensued, their family was evicted.

       McKenzy’s family then moved to Starbuck, Minnesota and her mother began

working at a custom design business apparel shop. N.B. never held a job for very long,

and instead went from job to job in carpentry and on pig farms. Still, McKenzy and H.B.

had stability, all their needs met, and the love of their mother.

       Cancer

       Sadly, when McKenzy was twelve years old she learned that her mother was sick.

It began with her mother passing out, waking up on the bathroom floor, and having

bruises from unknown accidents. Her mother eventually underwent an MRI and a tumor-

like mass was discovered in her brain.

       On June 7, 2013, McKenzy’s mom had a biopsy on the tumor but the family had

to wait two weeks for the results. Then, one day, when McKenzy returned from her

friend’s house, her nine-year-old brother blurted out, “mom has cancer.” The tumor was,

in fact, an aggressive form of brain cancer.

       McKenzy’s mother lived another eleven months, to May 14, 2014. And those

eleven months were exceptionally hard for McKenzy. N.B. had to work to support the


                                                  5
         CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 6 of 28




family, so it was McKenzy who sat through her mother’s seizures and held her head. And

it was McKenzy who had to care for her mom, all the while keeping herself calm for her

nine-year-old brother.

       Her mother decided to forego chemotherapy – the prognosis wasn’t good anyway,

and she didn’t want to be sick in the time she had left. They all knew that she was dying.

Still, McKenzy refused to believe she would actually die and always told herself her

mother would get better.

       But by the end of April of 2014, McKenzy’s mother had been in the hospital for a

month. McKenzy stopped going to school to stay with her mother every day and at night

she slept at her aunt’s house. Yet even when her mother was in the hospital in a catatonic

state, McKenzy thought she would get better and come home.

       Sadly, McKenzy couldn’t talk to her mother about her feelings. The nurses

routinely came into the room to shine a flashlight in her mother’s eyes to see if they

would move and for a while they did. So, believing she could hear her, McKenzy talked

to her, told her she loved her and that she wanted her to wake up. Alas, the last reciprocal

interaction they had was when her mother awoke from her catatonic state one last time

and didn’t know where she was or how she got there. McKenzy’s mother was hysterical

and angry and went into another seizure before slipping back into unconsciousness.

       McKenzy was in the hospital the day her mom’s eyes stopped responding to the

nurse’s flashlight and the life support was discontinued. She was thirteen when her

mother passed away. And despite everything she knew and saw, McKenzy was beside

herself. She was unprepared for a life without her mother.


                                                 6
          CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 7 of 28




       Life Without Her Mother

       McKenzy, her brother, and her stepfather N.B. moved in with her stepfather’s

parents. And N.B. almost immediately disappeared. They had no idea where he went

until he resurfaced nine months later to see McKenzy’s brother and then disappeared

again. After that he rarely had contact with H.B and McKenzy. N.B. never established a

place of his own and never came back for them.

       Thus, N.B.’s parents, who McKenzy had been calling grandma and grandpa,

adopted her and H.B. when McKenzy was sixteen. McKenzy attended Minnewaska High

School in Starbuck and played in the band. She started on the trumpet, then took up the

French horn, then the baritone and ultimately the trombone. Being in band and band

practice was her favorite part of high school. She made two close friends and never got in

any real trouble, except for occasionally skipping a class or arriving late. She first tried

marijuana at sixteen, but never tried any other drugs.

       The same year her adoption became official, her adoptive parents began taking in

foster children. Thus, from the time she was sixteen until she was eighteen, seven foster

siblings lived with McKenzy, H.B. and their family. It was always exciting when a new

child or children came to live with them. McKenzy particularly enjoyed having an infant

and the younger kids, who ranged from four to six years around. And then there was

Minnie.

       Minnie was sixteen, just like McKenzy, when she came to their home. Minnie

came from a difficult family life, but she was smart, outgoing, and fun. The two girls

bonded immediately. Minnie started high school with McKenzy and joined her friend


                                                  7
         CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 8 of 28




group. The other kids at Minnewaska High School weren’t very welcoming to Minnie.

Being Native American in their small town wasn’t easy.

       Ultimately, Minnie left and returned to her Reservation when she was eighteen. It

was sad for McKenzy, but they girls knew that they were sisters for life and that they

would stay in contact. The two still maintain a close relationship.

       Thus, at eighteen, after graduation from high school, McKenzy moved out of her

grandparent’s house in Starbuck and moved to the Twin Cities. She wanted to establish a

relationship with her biological father, but her grandparents didn’t approve. They told

her if she left, she had to take all of her stuff. And she knew she wouldn’t be able to

return. They ignored her until she left.

       McKenzy moved to the Twin Cities and lived with her biological father, A.J., and

his girlfriend. McKenzy got a job working at Smart Data Solutions in Eagan and worked

there for approximately one year.

       At nineteen, in August of 2019, McKenzy started dating a 27 year old,

unemployed man who lived in his mother’s house. His mother had moved in with her

parents to care for them, so McKenzy was invited to live with her boyfriend after only a

month in their relationship.

       Unfortunately, the older boyfriend was manipulative and controlling. He punched

holes in walls and threw stuff when they fought to scare McKenzy. When he apologized,

he said he would kill himself if she ever left. Not wanting to burden her father, with

whom she’d only just started a relationship, McKenzy felt stuck. She stayed in the




                                                 8
         CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 9 of 28




abusive relationship much longer than she should have. And she lost 30 pounds as a

result of the stress and anxiety the relationship caused her.

       Ultimately, she left. But to get out, McKenzy had to give up her new car – that she

bought with her mother’s life insurance money – and her service dog, Onyx. Although

Onyx was certified as her emotional support animal and McKenzy trained her, her

boyfriend kept Onyx. There was no way for McKenzy to get her back.

       McKenzy moved back in with her biological father, his girlfriend and her newborn

half-brother, whom she agreed to care for while her father and his girlfriend worked.

McKenzy was grateful to have her father in her life and happy to have a newborn to love

– and love her back.

       McKenzy DeGidio Dunn has had a tough time since her mother died, but she’d

never been in trouble with the law nor arrested until this case.



II.    THE NATURE AND CIRCUMSTANCES OF THE OFFENSE

       On May 25, 2020, George Floyd was murdered by Minneapolis Police Officer

Derek Chauvin. His slow death was filmed by a young woman at the scene, who posted

the video on social media. The recording went viral. It is a very difficult video to watch

and, like many, McKenzy DeGidio Dunn had a visceral reaction.

       By Tuesday morning, May 26, 2020, local and national news outlets had picked up

the story about Mr. Floyd’s death, and by Tuesday afternoon, thousands of people were

gathered in the area of 38th and Chicago Avenue to protest the murder of Mr. Floyd. Ms.

DeGidio Dunn began to feel restless and began posting on Facebook.


                                                  9
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 10 of 28




       But as the video spread, outrage spread. More protestors came, people drove in

from other states and overnight, Minneapolis became the world’s representative epicenter

for injustice and police brutality.

       Following the mostly peaceful protests on Tuesday night, the cities of Minneapolis

and St. Paul began to experience rioting. Clashes between protestors and police

worsened. And despite heavily armed officers shooting rubber bullets and tear gasing the

crowds, the protestors far outnumbered law enforcement. Things got out of hand before

the National Guard was called in for help. People rioted, vandalized and destroyed.

Buildings were looted and burned. Ms. Degido Dunn continued to share her frustration

and the frustration of others on Facebook.




                                              10
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 11 of 28




Amid her posts, Ms. DeGidio Dunn went to the protests with some acquaintances she’d

met only a few days before. She didn’t have a lot of friends in the Twin Cities area.

       On May 28, 2020, Ms. DeGidio Dunn went to St. Paul, Minnesota with her co-

defendant, Samuel Frey, and his younger sister. She’d been invited by a mutual friend,

but he decided not to stay. Thus, Ms. DeGidio Dunn, Mr. Frey and his sister walked

down the sidewalks with other protestors and went in and out of businesses that had

already been broken into. Most of the businesses had broken windows, holes in walls,

and stuff scattered all over floors.




                                                11
         CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 12 of 28




        In the Target store parking lot they met Bailey Baldus, whose indictment was

previously dismissed. She was friends with Mr. Frey’s sister. Ms. DeGidio Dunn had

never met her before. Together, the four of them entered a Verizon store, a Vitamin

Shoppe and the Great Health & Nutrition store.

        The surveillance video from the Great Health & Nutrition store shows Ms.

DeGidio Dunn attempting to catch Red Bull drinks being thrown to her, standing next to

a counter, going through her backpack and sitting on the floor as Mr. Frey and others

walk around the store pulling down shelving units and breaking glass display cases. Ms.

DeGidio Dunn did not participate in any of this.

        Further into the video, Mr. Frey attempts to start a small fire near Ms. DeGidio

Dunn by using a cigarette lighter on magazines. But this fire never got started and Mr.

Frey moved on. At the end of the video, Mr. Frey attempts to start a second fire on a

bookshelf by spreading hand sanitizer and lighting magazine pages with a cigarette

lighter. Eventually, as everyone is leaving the store, Ms. DeGidio Dunn grabbed a nearby

bottle of hand sanitizer and squeezes it onto the bookshelf where Mr. Frey is starting a

fire.

                                   THE GUIDELINES

III.       AS A MINIMAL PARTICIPANT IN AN ATTEMPTED CONSPIRACY, MS.
           DEGIDIO DUNN SHOULD RECEIVE A 4-LEVEL REDUCTION PURSUANT TO
           U.S.S.G. § 3B1.2(A).


        Ms. DeGidio Dunn asks the court to apply a 4-level reduction for playing a

minimal role and being a minimal participant in the conspiracy to commit arson under



                                                12
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 13 of 28




U.S.S.G. §3B1.2(a). This section of the United States Sentencing Guidelines provides

that a defendant may receive a mitigating role reduction if the defendant “plays a part in

committing the offense that makes [her] substantially less culpable than the average

participant in the criminal activity.” Specifically, a minimal role is warranted if the

defendant is “plainly among the least culpable of those involved in the conduct of a

group.” Id. Even if “a defendant performs an essential or indispensable role in the

criminal activity,” the defendant “may receive an adjustment under this guideline if he or

she is substantially less culpable than the average participant.” Id.

       A. Ms. DeGidio Dunn’s Conduct Fits the Criteria for a Minimal Role
          Reduction.

       Application note 3(C) sets forth the relevant factors for making the fact-based

determination in whether to apply USSG §3B1.2’s minimal role reduction and instructs

the court to consider:

       (i)     the degree to which the defendant understood the scope and structure of the
               criminal activity;

       (ii)    the degree to which the defendant participated in planning or organizing the
               criminal activity;

       (iii)   the degree to which the defendant exercised decision-making authority or
               influenced the exercise of decision-making authority;

       (iv)    the nature and extent of the defendant's participation in the commission of
               the criminal activity, including the acts the defendant performed and the
               responsibility and discretion the defendant had in performing those acts;
               and

       (v)     the degree to which the defendant stood to benefit from the criminal
               activity.




                                                 13
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 14 of 28




These criteria were recently added to the Guidelines in 2015, through Amendment 794, as

“a result of the Commission’s study of §3B1.2 (Mitigating Role).” 1 In their review of the

Mitigating Role guideline, the Commission “conducted a review of cases involving low-

level offenders, analyzed case law, and considered public comment and testimony.” Ibid.

       “Overall, the study found that mitigating role is applied inconsistently and more

sparingly than the Commission intended.” Ibid. (emphasis added). “In economic crime

cases, the study found that the adjustment was often applied in a limited fashion[,]” and

the Commission noted “that courts often deny mitigating role to otherwise eligible

defendants if the defendant was considered ‘integral’ to the successful commission of the

offense.” Ibid. Thus, the Commission made clear that its amendment was intended to

“address[] . . . case law that may be discouraging courts from applying the adjustment in

otherwise appropriate circumstances.” Ibid.

       After surveying a jurisprudence split as to the determination of what constitutes an

“average participant,” the Commission “adopt[ed] the approach of the Seventh and Ninth

Circuits” over the more expansive position of the First and Second Circuits. Accordingly,

the Commission “revis[ed] the commentary to specify that, when determining mitigating

role, the defendant is to be compared [only] with the other participants ‘in the criminal

activity’” instead of with “‘the universe of persons participating in similar crimes.’” Id.

at 34-35 (citing United States v. Benitez, 34 F.3d 1489, 1498 (9th Cir. 1994), United


1
 United States Sentencing Commission, Amendments to the Guidelines at 34 (eff. Nov. 1,
2015), available at https://www.ussc.gov/sites/default/files/pdf/amendment-
process/official-text-amendments/20150430_Amendments_0.pdf (last visited April 30,
2021).

                                                14
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 15 of 28




States v. Cantrell, 433 F.3d 1269, 1283 (9th Cir. 2006), and United States v. DePriest, 6

F.3d 1201, 1214 (7th Cir. 1993)).

       The Commission furthermore explained that its 2015 Amendment represented a

rejection of “cases [in which] a defendant . . . [was] denied a mitigating role adjustment

solely because he or she was ‘integral’ or ‘indispensable’ to the commission of the

offense.” Id. at 35 (citing, inter alia, the example of United States v. Deans, 590 F.3d 907,

910 (8th Cir. 2010) (“Numerous decisions have upheld the denial of minor role adjustments

to defendants who . . . play a critical role”). Thus, the Commission explained, “a finding

that the defendant was essential to the offense does not alter the requirement, expressed in

Note 3(A), that the court must assess the defendant’s culpability relative to the average

participant in the offense” and that such a defendant “may receive a mitigating role

adjustment, if he or she is otherwise eligible.” Ibid.

       Other aspects of the 2015 Amendment confirm the Commission’s significant

interest in encouraging sentencing courts to apply the mitigating role downward adjustment

in appropriate circumstances, including situations analogous to the present matter. The

2015 criteria establish that Ms. DeGidio Dunn’s role was significantly different from that

of her co-defendant and co-conspirator, Samuel Frey, and a minimal role reduction is

appropriate.

       First, Ms. DeGidio Dunn did not go to the protests with an agreement to destroy

property nor commit arson. Rather, she entered into the agreement at the last minute by

spreading approximately eight ounces of hand sanitizer on a bookshelf when her co-

defendant, Samuel Frey, attempted to start a second fire. Second, Ms. DeGidio Dunn did


                                                 15
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 16 of 28




not plan nor organize the criminal activity and did not destroy other property inside the

Great Health Nutrition store. She was merely present as others destroyed glass display

cases, bookshelves and other items. Third, Ms. DeGidio Dunn did not exercise decision-

making authority and did not influence the exercise of decision-making authority. Mr.

Frey appeared determined to start a fire in the Great Health & Nutrition store with or

without any help from others present. And Ms. DeGidio Dunn barely knew her

accomplices and had no control over their actions. Fourth, Ms. DeGidio Dunn’s sole act

was de minimus, lasted only a few seconds, and very little damage resulted from her

actions. Fifth, Ms. DeGidio Dunn stood to benefit very little from her act of squirting

hand sanitizer on the bookshelf.

       B. The Minimal Participant Reduction Does Not Require a Large Scale
          Conspiracy

       As the State notes, the conspiracy in this case did not involve a criminal enterprise

with a structured, hierarchical, or organized group of participants. Therefore, there is “no

information to suggest Samuel Frey (hereinafter “Frey”) or any other participants planned

the offense, exercised decision-making authority, or benefitted from the offense.” Final

Pretrial Services Report “PSR” Addendum at A.2. While the conspiracy is therefore

limited both in duration and depth of involvement to the events at the Great Health

Nutrition Store, based on those events there is sufficient evidence to find that Ms.

DeGidio Dunn is substantially less culpable than the average participant in the

conspiracy, namely Mr. Frey, who attempts to start at least two fires.




                                                16
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 17 of 28




       The Eighth Circuit has established a test for determining whether a mitigating role

reduction is warranted under§ 3B1.2(b), regardless of the scope or size of the conspiracy.

“‘To determine whether a reduction is appropriate,’ the court compares ‘the acts of each

participant in relation to the relevant conduct for which the participant is held

accountable’ and measures ‘each participant's individual acts and relative culpability

against the elements of the offense.’” United States v. Johnson, 408 F.3d 535, 539 (8th

Cir. 2005) (citing United States v. Johnson, 358 F.3d 1016, 1018 (8th Cir. 2004)). See

also United States v. Ramos-Torres 187 F.3d 909, 915 (8th Cir.1999); United States v.

Thurmon, 278 F.3d 790, 792 (8th Cir. 2002)).

       Therefore, the court must first determine the relevant conduct for which Ms.

DeGidio Dunn is being held responsible and the specific acts Ms. DeGidio Dunn

committed. She pleaded guilty to conspiracy to commit arson and thereby admitted that

she attempted “to damage or destroy, by means of fire … any building … used in

interstate or foreign commerce.” 18 U.S.C. §844(i). But Ms. DeGidio Dunn did not light

the flame nor put the flame to paper in an attempt to ignite a fire as her co-defendant

twice did inside the Great Health & Nutrition store. In fact, while Ms. DeGidio Dunn

stands at a counter and sits on the floor, her co-defendant appears determined to cause as

much damage to the store as possible.




                                                 17
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 18 of 28




      Ms. DeGidio Dunn added hand sanitizer to a bookshelf while her co-defendant

attempted to light a second fire. See Great Health Nutrition Store Surveillance Video,

Named in Part 20200528_195527, “Video 2” (ECF #1, Complaint at 15). As a result of

these acts, two shelves and the wall immediately behind and above them sustained “fire

damage in the form of charring, discoloration and soot and smoke deposits.” Id. (ECF #1,

Complaint at 8).



                                               18
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 19 of 28




       The single act Ms. DeGidio Dunn committed within this conduct was spreading a

small amount of hand sanitizer over the shelf, which Mr. Frey then lit on fire. (Video 2 at

2:44-2:59; 3:40-3:44). Ms. DeGidio Dunn spread hand sanitizer only at the last minute,

and only after Mr. Frey had already spread over a bottle of hand sanitizer on the shelves

and attempted to light magazines on fire. (Id. at 1:20-2:25; 2:35).

       While the conspiracy in this case was limited in duration and scope, within that

duration and scope Ms. Dunn played a minimal role. First, Ms. DeGidio Dunn’s conduct

lasted for a significantly less amount of time. While Mr. Frey spent approximately 2

minutes and 22 seconds trying to start a fire, Ms. DeGidio Dunn’s participation lasted

only 19 seconds. (Video 2 at 1:20-3:44.) Mr. Frey first tried to start a fire approximately

1 minute and 20 seconds into Video 2, when he poured an entire bottle of hand sanitizer

on a shelf he previously knocked down. Id. at 1:20-1:28. He spent nearly the rest of his

time in the store either pouring hand sanitizer, spreading magazines, or attempting to

light magazines on fire. Id. at 1:20-3:44. After he emptied the first bottle of hand sanitizer

on the shelf, he picked up a magazine and began lighting it on fire. Id. at 1:33. He then

continued to pour another bottle of hand sanitizer over the shelf. Id. 1:47-2:03. Next, he



                                                 19
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 20 of 28




grabbed more magazines and tried to light them on fire, too. Id. 2:04-2:14. Although he

then moved slightly off camera, it appears he then lit magazines in the same location as

the fire damage. Id. 2:14. During this time, he said “you have like five minutes, until I

can figure out how to get this bitch burned.” Id. 2:19-25.

       Ms. DeGidio Dunn, on the other hand, was sitting down, putting on her shoe from

approximately 1:20 until 2:35 minutes into Video 2. Id. at 1:20-2:35. She then stood up,

grabbed a bottle of hand sanitizer, and from about 2:44 until 2:59 she presumably helped

Mr. Frey spread hand sanitizer on the shelf, although she is off camera. Id. at 2:44-2:59.

Ms. DeGidio Dunn then picked up her backpack and turned to leave, while Mr. Frey

returned to the shelf with more hand sanitizer. Id. at 3:24-3:44. At the last second, Ms.

DeGidio Dunn returned to the shelf, presumably to spread more hand sanitizer. Id. at

3:40-3:44. Therefore, while Mr. Frey spent 2 minutes and 22 seconds trying to start a fire,

Ms. DeGidio Dunn’s conduct lasted at most 19 seconds. Neither stayed long enough to

ensure that the fire started and the actual fire damage was limited.




                                                20
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 21 of 28




       In addition, Ms. DeGidio Dunn’s role was lesser in scope. She did not speak about

starting the fire nor instigate any attempts to start the fire. The first person to mention

starting a fire was Mr. Frey’s sister, who asked if “Red Bull was flammable.” Great

Health Nutrition Store Surveillance Video, Named in Part 20200528_195153, “Video 1”

at 2:25. The next statement made regarding arson is again made by Mr. Frey’s sister, who

said “we’re lighting this bitch up.” Video 2 at 1:17-1:19. Mr. Frey responded, “I’ve got

hand sanitizer,” as he took hand sanitizer out of his backpack and began pouring it over

the shelf he just knocked down. Id. at 1:20. This is the first attempt by any co-

conspirators to start a fire. Id. Mr. Frey’s sister then said again, “yo, we’re lighting this

bitch up” and Mr. Frey said something else about hand sanitizer in response. Video 2 at

1:18-22. Mr. Frey continued to pour more hand sanitizer over the shelf. Id. at 1:47-2:03.

At the same time, Mr. Frey’s sister who had previously asked “is Red Bull flammable,”

pours Red Bull on the floor. Id. at 1:55-2:00. Mr. Frey then continued to try to start a fire

until the 3:44 mark in the video. Id. at 3:44. During this time, Ms. DeGidio Dunn stated

“he’s, uhhh, lighting…. Dropping fire,” while Mr. Frey lit magazines on fire and dropped

them onto the shelf which he previously covered in hand sanitizer. Id. at 1:34. No other

statements regarding setting a fire are attributable to Ms. DeGidio Dunn. Id. Ms.

DeGidio Dunn participates last, spreading hand sanitizer for the first time at 2:44 minutes

into Video 2. Id. at 2:44.

       The role Ms. DeGidio Dunn played in this offense is therefore lesser in scope and

duration than that of her co-defendant Mr. Frey. She is, therefore, deserving of a minimal

role reduction under USSG §3B1.2.


                                                  21
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 22 of 28




IV.       THE ADDITIONAL 18 U.S.C. §3553(A) FACTORS

       The Supreme Court reiterated in Gall v. United States, 128 S.Ct. 586, 602 (2007),

that “the Guidelines are not mandatory, and thus the range of choice dictated by the facts

of the case is significantly broadened.” Gall requires that in addition to considering the

Guidelines, the “district court should … consider all of the 3553(a) factors to determine

whether they support the sentence requested by the party. In so doing, he[she] may not

presume the Guidelines range is reasonable. He[She] must make an individualized

assessment based on the facts presented.” Gall, at 596-96 (citations omitted); see also

United States v. Miranda, 505 F.3d 785, 791 (7th Cir. 2007) (“Although the guidelines are

treated as advisory after Booker, the application of section 3553(a) is mandatory.”)

       The Supreme Court requires judges “to impose a sentence sufficient, but not

greater than necessary to comply with the basic aims of sentencing” in § 3553(a), Rita v.

United States, 127 S.Ct. 2456, 2463 (2007), which includes the need for the sentence “to

reflect the seriousness of the offense, to promote respect for the law, and to provide just

punishment; to create adequate deterrence; to protect the public from further crimes of

the defendant and to provide the defendant with needed educational or vocational

training, medical care, or other correctional treatment in the most effective manner.” 18

U.S.C. § 3553(a). Section 3553(a)(1) also gives sentencing courts “a broad command to

consider ‘the nature and circumstances of the offense and the history and characteristics

of the defendant.’” Gall, 128 S.Ct. at 596 n.6.

       It has been uniform and constant in federal judicial tradition for the
       sentencing judge to consider every convicted person as an individual and



                                                  22
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 23 of 28




       every case as a unique study in the human failings that sometimes mitigate,
       sometimes magnify, the crime and punishment to ensue.

Koon v. United States, 518 U.S. 81, 113 (1996). The Guidelines are only one factor of

many the Court is to consider. Gall, 128 S.Ct. at 596. A criminal sentence, therefore,

should adequately address and reflect how an individual got to this place in life.

       A. The Need for Correctional Treatment in the Most Effective Manner

       As noted above, other than this case, Ms. DeGidio Dunn has no criminal history.

She has managed to do well and make a good life despite losing her mother as a child. One

could easily see how Ms. DeGidio Dunn’s life could have taken another path. But she

stayed in school, graduated from high school, and has worked her entire adult life.

       When her picture and video aired on television news and Ms. DeGidio Dunn

realized that law enforcement was looking for her and her accomplices, she called the FBI

tip line because she didn’t know how to turn herself in. She gave the FBI her full name,

date of birth, cellular phone number, residential address, email address and information

regarding her involvement in the arson at the Great Health & Nutrition store. With this

information, the FBI obtained an arrest warrant for Ms. DeGidio Dunn and went to the

residential address she provided. There the FBI met Ms. DeGidio Dunn’s father who called

her and handed the phone to ATF Special Agent Laura Gulick.

       Agent Gulick spoke to Ms. DeGidio Dunn who provided her with another address

where she was staying with her boyfriend. When Agent Gulick and two other agents

arrived at the address, they were invited into the home and arrested Ms. DeGidio Dunn in

the living room. During Ms. DeGidio Dunn’s transport to the federal courthouse, she



                                                23
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 24 of 28




confessed to spreading some hand sanitizer where Mr. Frey was attempting to start a fire.

ATF 778030-20-0071, Report 18.

       Ms. DeGidio Dunn has taken this matter very seriously from the beginning. On

June 8, 2020, she contacted law enforcement, met with them, was arrested, and confessed

to her involvement. She was then taken to federal court and spent the next four nights in

jail before she was released on June 12, 2020. Before that, she’d never been arrested and

certainly never spent the night in jail.

       Since that time, Ms. DeGidio Dunn has ceased smoking marijuana, has routinely

attended mental health therapy and has continued employment. She first worked as a

cashier at a Speedway gas station, then she loaded trailers for UPS. As she struggled to

keep up in the physically demanding job at UPS, she found other employment at Brighter

Mission, where she helped people with mental disabilities and health issues get out of their

homes and into the community. She took her clients to parks, malls, grocery stores and to

their appointments as their driver and companion.

       But Ms. DeGidio Dunn couldn’t get enough hours at Brighter Mission, so she left

to work as a personal care attendant for elders at HomeInstead. Now, Ms. DeGidio Dunn

serves seven clients. She provides transportation, grocery shopping, meal preparation,

bathing, laundry, and cleaning (e.g. dusting, vacuuming and sweeping). Ms. DeGidio Dunn

enjoys caring for others and worries that her felony conviction will prevent her from

working with people with disabilities in the future.




                                                24
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 25 of 28




       Ms. DeGidio Dunn is doing good things in the community and she is taking care of

her mental well-being and has abstained from using marijuana. She is not in need of

correctional treatment and a term of federal probation would ensure her continued success.

       B. Just Punishment, Adequate Deterrence and Protection of the Public

       Ms. DeGidio Dunn is now twenty and will live the rest of her life as a federal

felon. It will prevent her from working in a number of fields, at a number of jobs and

will keep her from getting apartments. It will be something she has to explain for the rest

of her life. For her crime, she has already lost much: her ability to pursue her dream to be

a social worker and her ability to live a life unencumbered by a felony conviction.

       Among the kinds of sentences available in this case, this Court should

consider sentencing Ms. DeGidio Dunn to probation with substantial conditions,

including restitution and community service. The losses she has already incurred

and the effect a felony conviction will have on her adulthood are sufficient. And

the additional conditions will mete out the appropriate punishment, but will also

recognize that a probationary sentence is no greater than necessary to fulfill all the

purposes of sentencing. Requesting such an alternative to incarceration for

someone like Ms. DeGidio Dunn is not unusual.

       Increasingly, criminal justice professions have argued that dwindling prison
       space should be reserved for the most serious and dangerous offenders,
       necessitating a reconsideration of alternative sanctions for first-time and
       nonviolent offenders. 2


2
 Alternative Sentencing in the Federal Criminal Justice System, UNITED STATES SENTENCING
COMMISSION, January 2009, at 1.


                                                 25
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 26 of 28




       In upholding a sentence of probation, the Supreme Court in Gall acknowledged

that probation is a significant sentence, with even the standard conditions of probation

carrying substantial restrictions of liberty. Gall, 128 S.Ct. at 595-96 n.4. In other words,

probation may be punishment enough. Additionally, the Supreme Court rejected the

Eighth Circuit’s previous conclusion that probation “lies outside the range of choice

dictated by the facts” because § 3553(a)(3)(kinds of sentences available) “directs the

judge to consider sentences other than imprisonment.” Id. at 602, n.11.

       In this case, McKenzy DeGidio Dunn is a first time offender who

committed her offense in 19 seconds without thinking and without contemplation

of her future. Fortunately, her conduct caused minimal damage. So the question

becomes, what is just punishment in this case?

       The effects of her crime have already been significant on Ms. DeGidio Dunn’s

life. The primary need for incarceration in this case is the need to deter Mrs. DeGidio

Dunn from acting without thinking ever again, but Ms. DeGidio Dunn does not need

prison to be deterred. As her singular experience with the criminal justice system, Ms.

DeGidio Dunn has already been scared straight. She has abided by all of the conditions

of her release, has abstained from the use of marijuana and has worked throughout her

pretrial release. She intends to make something out of her young life and prison will do

more harm than good.

       Additionally, Ms. DeGidio Dunn does not pose a risk of danger to the community.

Up until she succumbed to peer pressure while protesting the death of George Floyd, Ms.

DeGidio Dunn has lived a law-abiding life.


                                                 26
          CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 27 of 28




         At an annual cost of incarceration for one person in the Bureau of Prisons at

$39,365.00, in a Community Corrections Center at $39,924.00, and under

supervision by a United States Probation Officer at $4,465.00, it seems that

society would be better served by Ms. DeGidio Dunn’s performance of

community service and repayment of restitution to the Great Health & Nutrition

store. (PSR ¶ 93) The societal benefit for the incarceration of Ms. DeGidio Dunn

would be minimal. This is because Ms. DeGidio Dunn does not need any further

deterrence, she is not a danger to the community, and she is unlikely to recidivate.

         Over the past eleven months, Ms. DeGidio Dunn has proven that she can be

an asset to the community and she has the ability to pay restitution and perform

community service. For these reasons, she hopes that the Court will consider that

a sentence of federal probation would be sufficient and no greater than necessary

to accomplish the goals of federal sentencing.



IV.      CONCLUSION

         For the above stated reasons, Ms. DeGidio Dunn respectfully requests that the

Court consider a sentence of probation with the conditions that she:

      1) continue with any recommended treatment for mental health and chemical
         dependency,

      2) continue to remain employed,

      3) pay monthly restitution to Great Health & Nutrition, and

      4) serve a term of community service.



                                                 27
        CASE 0:20-cr-00129-NEB-HB Doc. 84 Filed 05/03/21 Page 28 of 28




      Such a sentence would be sufficient but no greater than necessary considering Ms.

DeGidio Dunn’s young age, her lack of criminal history, and the de minimus conduct of

her crime.



Dated: May 3, 2021                          Respectfully submitted,

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                                             28
